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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 VIRGINIA GIUFFRE,
                                                              No. 15 Civ. 7433 (RWS)
                        Plaintiff,

        -against-

 GHISLAINE MAXWELL,

                        Defendant.


                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

Declaration of Alan M. Dershowitz, and the exhibits attached thereto, Proposed Intervenor Alan

M. Dershowitz will move this Court before the Honorable Robert W. Sweet, United States

District Judge, in the Daniel Patrick Moynihan United States Courthouse , 500 Pearl Street, New

York, NY 10007, at 12:00 noon on Thursday, September 8, 2016, or as soon thereafter as

counsel may be heard, for permission to intervene in this action pursuant to Federal Rule of Civil

Procedure 24(b), and for an Order unsealing certain documents previously filed with the Court,

or in the alternative for an Order modifying the Protective Order previously entered by the Court,

together with such other and further relief as this Court deems just and proper.

       PLEASE TAKE NOTICE that opposition papers, if any, shall be served in accordance

with Local Civil Rule 6.1.


Dated: August 11, 2016
       New York, New York

                                                             EMERY CELLI BRINCKERHOFF
                                                             & ABADY LLP

                                                                            /s/                      .




                                                             Andrew G. Celli, Jr.
                                                             David A. Lebowitz


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